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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  JUSTYNA ZUBKO-VALVA, as Mother and
  Natural Guardian of ANTHONY VALVA and
  ANDREW VALVA, and as Administratrix of the
  Estate of THOMAS VALVA, and JUSTYNA
  ZUBKO-VALVA individually,

                                       Plaintiff,   DECLARATION IN
                                                    SUPPORT OF THE
                    -against-                       SUFFOLK COUNTY
                                                    DEFENDANTS’ MOTION
                                                    PURSUANT TO RULE
  THE COUNTY OF SUFFOLK, CPS SENIOR                 12(b)(6)
  CASEWORKER MICHELE CLARK,
  Individually and in her Official Capacity, CPS    CV 20-2663 (JMA)(ARL)
  SUPERVISOR EDWARD HEEPE, Individually
  and in his Official Capacity, CPS ASSISTANT
  DIRECTOR ROBERT LETO, Individually and
  in his Official Capacity, CPS INVESTIGATOR
  JENNIFER LANTZ, Individually and in her
  Official Capacity CPS INVESTIGATOR
  MELISSA ESTRADA, Individually and in her
  Official Capacity, CPS INVESTIGATOR
  LYDIA SABOSTO, Individually and in her
  Official Capacity, CPS SUPERVISOR JEAN
  MONTAGUE, Individually and in her Official
  Capacity, DEPARTMENT OF SOCIAL
  SERVICES COUNTY ATTORNEY RANDALL
  RATJE, ESQ., Individually and in his Official
  Capacity, ATTORNEY FOR CHILDREN
  DONNA MCCABE, ESQ., Individually and in
  her Official Capacity, THE LAW OFFICE OF
  DONNA MCCABE, SHANA CURTI, ESQ.,
  Individually and in her Official Capacity,
  ORSETTI & CURTI PLLC, EAST MORICHES
  UNION FREE SCHOOL DISTRICT,
  PRINCIPAL EDWARD SCHNEYER,
  Individually and in his Official Capacity,
  SCHOOL SUPERINTENDENT CHARLES
  RUSSO, Individually and in his Official
  Capacity, HOPE SCHWARTZ ZIMMERMAN,
  Individually, ATTORNEY FOR CHILDREN
  ETHAN HALPERN, ESQ, Individually and in
  his Official Capacity, THE LEGAL AID
  SOCIETY of SUFFOLK COUNTY, INC.,
  CHILDREN’S LAW BUREAU, MICHAEL
  VALVA, and ANGELA POLLINA,
  Defendants. COUNTY OF SUFFOLK, ET AL,

                                    Defendants.
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         Brian C. Mitchell, an attorney, duly admitted to practice before this Court and the Courts

  of the State of New York, affirms as follows under penalty of perjury:

         1. I am an Assistant County Attorney in the office of Dennis M. Cohen, Suffolk County

  Attorney, attorney for the County of Suffolk, Suffolk County Department of Social Services

  employees Michele Clark, Edward Heepe, Robert Leto, Jennifer Lantz, Melissa Estrada, Lydia

  Sabosto, Jean Montague and Assistant Suffolk County Attorney Randall Ratje, defendants in the

  above civil rights action pursuant to 42 U.S.C. § 1983.   I submit this declaration in support of

  the County’s motion pursuant to Fed.R.Civ.P. Rule 12(b)(6) for an order dismissing the

  complaint for failing to state a claim.

         2.      It is respectfully submitted that based upon the case law and legal principals set

  forth the in attached Memorandum of Law, which is incorporated by reference, the County

  defendants motion should be granted.

         3.      In support of its motion, the County attaches the following exhibits and evidence,

  which your affirmant declares are true and accurate copies of the original exhibits and evidence:


  Exhibit A:     Suffolk County Family Court Records relating to the Neglect and Abuse

  Proceedings against Justyna Zubko-Valva under Docket Numbers NN-767-18, NN-768-18 and NN-

  769-18; and Suffolk County Family Court Records relating to the Neglect and Abuse

  Proceedings against Michael Valva under Docket Numbers NN-771-18, NN-772-18 and NN- 773-

  18;

  Exhibit B:     Priority Mail Envelope and Notice of Claim served by plaintiff Justyna Zubko-Valva.
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         WHEREFORE, the defendants respectfully request that the Court grant this motion

  pursuant to F.R.C.P. Rule 12(b)(6) dismissing the complaint for failure to state a claim.


  Dated: Hauppauge, New York
         December 18, 2020
                                                    Brian C. Mitchell
                                                   Brian C. Mitchell
                                                   Assistant County Attorney
